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PROB34
Rev. 09/10



                             UNITED STATES DISTRICT COURT
                                            FOR THE
                                      DISTRICT OF IDAHO

             UNITED STATES OF AMERICA                      REPORT AND ORDER TERMINATING
                                                               SUPERVISED RELEASE
                        V.
                  ELAINE MARTIN                           DKT. NO. 0976 1:13CR00065-001

It appearing that the above named has complied with the conditions of supervised release
imposed by the order of the Court heretofore made and entered in this case and that the period
of supervised release expired on 5/17/2021, I therefore recommend that the defendant be
discharged from supervised release and that the proceedings in the case be terminated.

                                                                     submitted,
                                                        Respectfully submitted




                                                        U.S. Probation and Pretrial Services
                                                        Administrative Assistant


                                         ORDER OF COURT

                Considered, ordered and made a part of the record in the above case.


                                                                    May 20, 2021


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